                   Case 2:11-cr-00015-LDG-PAL          Document 175       Filed 11/29/11         Page 1 of 3
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         6                                UNITED STATES IHSTRICT COURT
        7                                         D ISTR ICT O F N EVA D A

         8 IJNITED STATES OF AM ERICA,                         )
                                                               )
         9                           Plaintiff,                )
                                                               )          2:1I-CR-OI5-LDG (PAL)
        l0             v,                                      )                                                     j
                                                               )                                                     '
        ll KELLY BIRM ELE,                                     )                                                     :
                   .
                                                               )
        l2                           Defendant,                )
        13                                 FINAL O RDER OF FORFEITURE
        14             On June 21,20l1,the United States D istrict Courtfor the D istrict ofN evada entered a

        15 Prelim inary O rderofForfeiture,and on Septem berzg,1011,the United StatesDistrictCourtforthe
        16 districtofN evada entered an Am ended Prelim inary OrderofForfeiture pursuantto Fed. R.Crim ,

        17 P.32,2(b)(1)and(2);TitIe21,UnitedStatesCode,Sections853(a)(1)and853(a)(2);Title18,United
        l8 StatesCode,Section 924(d)(1)andTitle28,United StatesCode,Section 2461(c);andTitle21,
        19 UnitedStatesCode,Section88l(11)andTitle28,UnitedStatesCode,Section2461(c),basedupon
        20 thepleaofguiltyby defendantKELLY BIRM ELE to crim inaloffenses,forfeitingspeciticproperty
        21 alleged in the Indictm entand agreed to in the Plea M em orandum and show n by the United States
        22 tohavearequisitenexustotheoftknseto which defendantKELLY BIRM EIVE pled guilty,Docket
        23 //42,//110,#111,//115,//146.
        24   ...

        25   ...

        26   ..,
           Case 2:11-cr-00015-LDG-PAL         Document 175      Filed 11/29/11     Page 2 of 3



 1           This Coul'tlinds the United States ofAmerica published the notice of the tbrfeiture in

 2 accordance with the law via thi officialgovernm entinternetI-
                                                               orfeiture site,www.forfeiture,gov,
 3 consecutively from June25,2011,throughtoJuly24,2011,notifyingal1knownthirdpartiesoftheir
 4 rigbtto petition the Court. #132.
 5           ThisCourtt'
                       indsno petition w as tiled herein by oron behalfofany person orentity and the

 6 timeforfiling such petitionsand claim shasexpired.
     .
                                                                                                       j
 7           ThisCourttindsnopetitionsarependingwithregardtotheassetsnamedhereina                      !
                                                                                        nd thetim e    ;
 8 forpresenting such petitions has expired                                                            !
                                     .                                                                 ;
                                                                                                       !
 9           THEREFORE,IT IS HEREBY ORDERED,ADJUDGEDSAND DECREED thataIlright.                         E
10 title,and interestin the property hereino erdescribed iscondemned,forfeited,and vested in the

1l UnitedStatesofAmericapursuanttoFed.R.Crim.P.32.2(b)(4)(A)mzd(B);Tit1e21,UnitedStates
12 Code,Sections853(a)(1)and 853(a)(2);Title 18,United StatcsCodc,Section924(d)(1)andTitle
13 28,UnitedStatesCode,Section2461(c);andTitle21,UnitedStatesCode,Section88l(11)and-ritle
14 28.UnitedStatesCode,Section2461(c);andTitle21,UnitedStatesCode,Section 853(n)(7)and
l5 shallbe disposed ofaccording to law :

16           a.     $2,015,00 in U.S.Currency;
             b,     $1,807,00 in U.S.Currency;
17           c.     $48,920.00 in U,S.Currency;
             d.     aRuger.38cal.Revolver,bearing serialnumber540-48039;                 .
18           e.     aTaurus PT709,9111m sem i-autom atic handgun,bearing serialnum ber7-9082373;
                    aad
19           f.     anyandal1ammunition('tproperty'l).
20           IT IS FURTHER ORDERED.ADJUDGED,AND DECREED thatany and alIforfeited
21 funds,including butnotlim ited to,cun-ency,currency equivalcnts,certiticatesofdeposit,aswell
22 asany income derived asa resultoftheUnited StatesofAm erica'smanagem entofany property
23 forfeited herein,and the proceeds from the sale ofany forfeited propelly shallbe disposed of
24 according to law .

25 ...
26   ...
        Case 2:11-cr-00015-LDG-PAL        Document 175         Filed 11/29/11   Page 3 of 3



 1         TheClerk ishereby directed to send copiesofthisOrderto a1lcounselofrecord and three
 2 certified copiesto theUnited StatesAttorncy'sOftice.
 3         DA TED this o'Vf       dayof '                 ,   2011.
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